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                                                              FILED: April 2, 2010


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                     No. 07-4059 (L)
                                   (8:04-cr-00235-RWT)
                                   ___________________


        UNITED STATES OF AMERICA,

                               Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross,

                               Defendant - Appellant



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                                        O R D E R
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              The Court grants the motion to extend filing time and

        extends the briefing schedule as follows:

        Appendix due: April 30, 2010

        Opening Brief due: April 30, 2010

        Response Brief due: May 21, 2010

        Any Reply brief: 10 days from service of Response Brief.

                                           For the Court--By Direction

                                           /s/ Patricia S. Connor, Clerk
